       Case 2:15-cv-00724-MAK Document 398 Filed 02/12/19 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 CAROL ROUGVIE, et al.                               CIVIL ACTION

                     vs.                             NO. 15-724

 ASCENA RETAIL GROUP, INC., et al.



                                               ORDER

       AND NOW, this       12th   day of February 2019, upon considering the Defendants' Motion for

disbursement of an additional $1.1 million in funds from the Settlement Fund above the $8 million

cap in a reverter (ECF Doc. No. 343) approved on July 29, 2016 as fair and reasonable when the

parties jointly represented a potential voucher redemption of up to $402 Million but now

confirming redemptions of approximately $30 Million (including those who affirmatively

requested vouchers before our July 29, 2016 Order), following oral argument, finding no basis to

increase the disbursement of Settlement Funds reverting to the Defendants based on our final July

29, 2016 Order, and for reasons in the accompanying Memorandum, it is ORDERED Defendants'

Motion for additional disbursement (ECF Doc. No. 343) is DENIED but nothing in this Order

precludes the Claims Administrator from releasing the approved $8 Million from the Settlement

Fund to the Defendants no earlier than March 15, 2019.




                                             ~.J.
